Case 1:24-cv-00001 Document 64-4 Filed on 02/01/24 in TXSD Page 1 of 3




              Exhibit C-A
              Case 1:24-cv-00001 Document 64-4 Filed on 02/01/24 in TXSD Page 2 of 3




From:                              Gwynne Shotwell
Sent:                              Wednesday, June 15, 2022 2:57 PM
To:                                Paige Thielen
Cc:                                Brian Bjelde; Chris Cardaci; Lindsay Chapman; Shags O'Shaughnessy; Mark Juncosa;
                                   Anny Ning; tom.moline@spacex.com
Subject:                           Fwd: Is there an open letter for disagreeing with an open letter?


Paige et al — please stop flooding employees communications channels immediately. I have received numerous emails
just like the one below (and interestingly none thus far for the “open letter”.). I will consider your ignoring my email to
be insubordination.

Instead, please focus on your job and the mission of SpaceX — to get humanity to Mars as quickly as possible.

Thank you,

G

Begin forwarded message:

        From: SpaceX Suggestion Box <suggestionbox@spacex.com>
        Date: June 15, 2022 at 2:24:43 PM CDT
        To: Gwynne Shotwell <Gwynne.Shotwell@spacex.com>
        Subject: Is there an open letter for disagreeing with an open letter?

           Hi Gwynne,

        Recently there have been a number of heavily-shared links in the SpaceX network concerning current
        events (both within and outside of the company). The publicity of these links (and the open letters
        frequently accompanying them) invites public support--not much debate or critique.

        "Look everyone, I've summarized what we're all thinking."
        "Good job! So glad we're all on the same page in [celebrating/condemning] [x event]."

        Perhaps it's no surprise, but I do not agree with these public statements. Ironically, the purported aim of
        "inclusivity" and "improving the workplace environment" is effectively ostracizing someone like me and
        decreasing my workplace productivity as I struggle to understand whether I'm on a different mission
        from my co-workers. The heightened sense of urgency surrounding these messages is distracting and
        distressing.

        I expect that you are more closely aligned with some of my peers than I am. Perhaps you share their
        concerns and their mission.

        This makes me feel like the only true dissenter, with no public square and e-mail chain ready to promote
        my stance that "this is detracting from the workplace environment as it's shifting our focus from Mars
        and hyper-focusing on divisive topics." Ironically, having a public square or e-mail chain or open letter is
        the exact opposite of what I want; I want to do my job and stop filtering through e-mails and
        IMPORTANT! Teams messages and open letters.

        My suggestion: have a team create an actual public square Teams channel or dedicated web application
                                                             1
     Case 1:24-cv-00001 Document 64-4 Filed on 02/01/24 in TXSD Page 3 of 3
where my peers can stand on their soap boxes and hold their public forums and yell and get worked up
together without having to flood my various communication channels.

For what it's worth, I am actually one of the target demographics for the many support and DEI groups. I
want out.




                                                   2
